          Case 1:23-cr-00004-APM Document 32 Filed 05/11/23 Page 1 of 2




                                 UNITED STATES DISTRICT
                                COURT FOR THE DISTRICT OF
                                       COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
        v.                                        :        Criminal No. 23-CR-4 (APM)
                                                  :
ISAIAH FARNSWORTH,                                :
                                                  :
                         Defendant.               :

                        MOTION TO MODIFY CONDITIONS OF BOND

       The defendant, by and through counsel, moves this Honorable Court to modify the conditions of

his bond to allow him time to participate in extra-curricular activities with his two young children.

       As the Court knows, Mr. Farnsworth is on pretrial release and subject to the condition of home

confinement. The initial condition sought by the Government in this case was to place Mr. Farnsworth

on GPS Location Monitoring. However, in the Southeast District of Tennessee, where Mr. Farnsworth

resides and is supervised, the Court does not have GPS Location Monitoring available; consequently,

Mr. Farnsworth was placed on home confinement with electronic monitoring.

       Mr. Farnsworth has been largely in compliance with these conditions, and his few hiccups early

on involved minor infractions of not following his schedule precisely enough. There are no allegations

that Mr. Farnsworth has engaged in any conduct other than working, going to synagogue, and trying to

care for his family.

       Mr. Farnsworth has two young children, ages nine (9) and five (5). Prior to coming under

indictment, Mr. Farnsworth was the primary parent to engage with his children in extra-curricular

activites, such as training and working with horses, swimming, hiking, and going to the local jump park.

Mr. Farnsworth’s wife suffers from a serious anxiety disorder that makes it difficult for her to engage

with the children away from the home.

       At the time Mr. Farnsworth was placed on home detention it was winter and the children were
         Case 1:23-cr-00004-APM Document 32 Filed 05/11/23 Page 2 of 2




mostly engaged in indoor activities. However, at this time, school is about to be finished for the year and

the weather is favorable for outside activities. Mr. Farnsworth is filing this motion seeking permission to

be allowed to engage with his children outside in various activities including, swimming (he has a pool

for the children in his yard), running with his daughter, working with a neighbor’s horses with both

children, and going to the local jump park.

       Mr. Farnsworth suggests that to allow for these activities, and to also make monitoring less

onerous on the probation office, this Court could modify his conditions by allowing him to be out of the

house until approximately 9:00 p.m. each evening which would allow him to do activities with his

children following his workday. However, if the Court doesn’t believe this matter should be handled by

essentially setting a curfew for the evening, then Mr. Farnsworth still requests that this Court issue an

Order specifying that he is allowed to be out of the house to spend specific time with his children.

       Counsel has discussed this motion with AUSA Mumma who has indicated that she has no

objections to this motion.



                                                 Respectfully submitted,

                                                 FEDERAL DEFENDER SERVICES
                                                 OF EASTERN TENNESSEE, INC.

                                                 By: /s/ Myrlene R. Marsa
                                                        Myrlene R. Marsa
                                                 Assistant Federal Defender
                                                 835 Georgia Avenue, Suite 600
                                                 Chattanooga, Tennessee 37402
                                                 Myrlene_Marsa@fd.org
                                                 (423) 756-4349
